UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                      Case No. 19-20905
 The Diocese of Rochester,
                                                      Chapter 11
                                Debtor.


                                          CERTIFICATE OF SERVICE

  STATE OF CALIFORNIA                         )
                                              )
  COUNTY OF LOS ANGELES                       )

          I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., 13th Fl., Los Angeles, California 90067.

          Pursuant to the Court’s Amended Administrative Procedures, on July 2, 2021, in addition

to service via the Court’s ECF system, I caused a true and correct copy of the foregoing

documents to be served via electronic mail upon the parties set forth on the service list annexed

hereto as Exhibit 1 and via First Class US Mail upon the parties set forth on the service list

annexed hereto as Exhibit 2:

  OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ OBJECTION TO THE
 CONTINENTAL INSURANCE COMPANY’S MOTION FOR ENTRY OF AN ORDER
   (I) APPROVING DISCLOSURE STATEMENT IN SUPPORT OF CONTINENTAL
 INSURANCE COMPANY’S CHAPTER 11 PLAN OF REORGANIZATION FOR THE
 DIOCESE OF ROCHESTER, (II) APPROVING SOLICITATION PROCEDURES FOR
  CONTINENTAL INSURANCE COMPANY’S PLAN OF REORGANIZATION FOR
THE DIOCESE OF ROCHESTER, (III) APPROVING BALLOTS AND ESTABLISHING
  PROCEDURES FOR VOTING ON COMPETING PLANS, (IV) APPROVING THE
FORM, MANNER, AND SCOPE OF NOTICE FOR THE CONFIRMATION HEARING,
                   AND (V) GRANTING RELATED RELIEF

Dated: December 5, 2023                                /s/ Janice G. Washington
                                                           Janice G. Washington



DOCS_LA:337988.3 18489/002
LA:4869-7557-9285.1 18489.002
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                                                          EXHIBIT 1

               NAME                              NOTICE NAME                                      EMAIL
AB 1 Doe c/o Law Offices Of
Stephen Boyd & John Elmore              Stephen Boyd                         sboyd@steveboyd.com
Ad Hoc Parish Committee
c/o Woods Oviatt Gilman LLP             Timothy Patrick Lyster               tlyster@woodsoviatt.com
Amaryllis Figueroa c/o Mcconville,
Considine, Cooman & Morin, PC           Lucien A. Morin, II                  lmorin@mccmlaw.com
Bishop Emeritus Matthew Harvey
Clark c/o Adams Leclair LLP             Mary Jo S. Korona                    mkorona@adamsleclair.law
Brian S. Delafranier
c/o James, Vernon & Weeks, P.A.         Brianna M Espeland                   brianna@jvwlaw.net
Catholic Charities of the Diocese of
Rochester, Camp Stella Maris of
Livonia, N.Y., Catholic
Youth Organization and St. Joseph’s
Villa c/o Ward Greenberg Heller &
Reidy LLP                               Katerina M. Kramarchyk               kkramarchyk@wardgreenberg.com
Catholic Charities of the Diocese of
Rochester, Camp Stella Maris of
Livonia, N.Y., Catholic
Youth Organization and St. Joseph’s     Devin Lawton Palmer
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Certain Personal Injury Creditors c/o   Michael G. Finnegan & Elin M.        mike@andersonadvocates.com;
Jeff Anderson & Associates, P.A.        Lindstrom                            elin@andersonadvocates.com
Certain Personal Injury Creditors c/o
Thomas LaBarbera Counselors At
Law, P.C.                               Anne LaBarbera                       anne@tlcpc.law
Continental Insurance Company
c/o David Christian Attorneys LLC       David Christian, II                  dchristian@dca.law
                                        David Attisani                       dattisani@choate.com
Continental Insurance Company           Kevin J. Finnerty                    kfinnerty@choate.com
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c/o Barclay Damon LLP                   Jeffrey Austin Dove                  jdove@barclaydamon.com
Continental Insurance Company
c/o Wilmer Cutler Pickering Hale        Craig Goldblatt                      craig.goldblatt@wilmerhale.com
and Dorr LLP                            Isley Markman Gostin                 isley.gostin@wilmerhale.com
CVA Claimants c/o Jeff Anderson &                                            jeff@andersonadvocates.com;
Associates, P.A.                        Jeffrey R. Anderson & Michael Reck   mreck@andersonadvocates.com
CVA Claimants c/o Morgenstern
Devoesick PLLC                          Maura G. McGuire                     mmcguire@morgdevo.com
Donna Oppedisano and Kathleen
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Harris Beach PLLC                       Lee E. Woodard                       bkemail@harrisbeach.com
Interstate Fire and Casualty
Company c/o Moss & Barnett              Charles Edwin Jones                  charles.jones@lawmoss.com
Interstate Fire and Casualty
Company c/o Rivkin Radler LLP           Peter P. McNamara                    peter.mcnamara@rivkin.com
Interstate Fire and Casualty            Matt Roberts                         matthew.roberts2@troutmansanders.com
Company c/o Troutman Sanders LLP        Harris Winsberg                      harris.winsberg@troutmansanders.com


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               NAME                            NOTICE NAME                                          EMAIL
James Vernon & Weeks, P.A.            Leander L. James                      firm@jvwlaw.net
Kenneth Cubiotti                      Brianna M Espeland                    brianna@jvwlaw.net
c/o James Vernon & Weeks              Leander Laurel James, IV              ljames@jvwlaw.net
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National Surety Corporation
c/o Moss & Barnett, a Professional
Association                           Charles Edwin Jones                   charles.jones@lawmoss.com
National Surety Corporation
c/o Rivkin Radler LLP                 Peter P. McNamara                     peter.mcnamara@rivkin.com
National Surety Corporation           Matt Roberts                          matthew.roberts2@troutmansanders.com
c/o Troutman Sanders LLP              Harris Winsberg                       harris.winsberg@troutmansanders.com
Office of the United States Trustee   Kathleen Dunivin Schmitt              ustpregion02.ro.ecf@usdoj.gov
People of the State of New York c/o
Office of the New York State          Louis J. Testa, Assistant Attorney
Attorney General                      General                               louis.testa@ag.ny.gov
St. Bernard's School of Theology
and Ministry c/o Adams Leclair LLP    Paul L. LeClair                       pleclair@adamsleclair.law
Swiss re America Corporation as
Administrator for 21st Century
Centennial Insurance Company,
Formerly Known as Colonial Penn
Insurance Company c/o Kenney
Shelton Liptak Nowak LLP              Dirk C. Haarhoff                      dchaarhoff@kslnlaw.com
Swiss re America Corporation as
Administrator for 21st Century
Centennial Insurance Company,
Formerly Known as Colonial Penn
Insurance Company c/o Kenney
Shelton Liptak Nowak LLP              Judith Treger Shelton                 jtshelton@kslnlaw.com
Swiss re America Corporation as
Administrator for 21st Century
Centennial Insurance Company,
Formerly Known as Colonial Penn
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Wilcox Matousek LLP                   Robert P. Arnold & Kaitlin M. Calov   kcalov@walkerwilcox.com
The Chubb Companies
c/o Duane Morris LLP                  Catherine Beideman Heitzenrater       cheitzenrater@duanemorris.com
                                                                            sdonato@bsk.com
                                      Stephen A. Donato, Ingrid S.          ipalermo@bsk.com
The Diocese of Rochester              Palermo, Charles J. Sullivan,         csullivan@bsk.com
c/o Bond, Schoeneck & King, PLLC      Grayson T. Walter                     gwalter@bsk.com




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                                    EXHIBIT 2: SERVICE VIA U.S. MAIL

Bankruptcy Management Solutions, Inc.                 Nixon Peabody, LLP
d/b/a Stretto                                         1300 Clinton Square
410 Exchange, Ste. 100                                Rochester, NY 14604
Irvine, CA
                                                      Pachulski Stang Ziehl & Jones LLP on behalf of
Berkeley Research Group, LLC                          Creditor Committee
70 W. Madison St., Suite 5000                         Official Committee of Unsecured Creditors
Chicago, IL 60602                                     10100 Santa Monica Boulevard, 13th Floor
                                                      Los Angeles, CA 90067
Bonadio & Co., LLP
171 Sully's Trail                                     Lisa M. Passero
Pittsford, NY 14534                                   The Diocese of Rochester
                                                      1150 Buffalo Road
Gellert Scali Busenkell & Brown LLC                   Rochester, NY 14624
1201 N. Orange Street
Suite 300                                             People of the State of New York
Wilmington, DE 19801                                  c/o Office of the Attorney General
                                                      Charities Bureau
Gnarus Advisors LLC                                   28 Liberty Street
2029 Century Park East, Suite 400                     New York, NY 10005
Los Angeles, CA 90067
                                                      Stretto
Patrick J. Hynes                                      Attn: Sheryl Betance
1513 Langdon Village Drive                            410 Exchange, Ste. 100
Clemmons, NC 27012                                    Irvine, CA 92602

                                                      The Claro Group, LLC
                                                      123 N. Wacker Dr.
                                                      Suite 2100
                                                      Chicago, IL 60606
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